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              The Plan is Provided as a Separate Document
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                                      Exhibit C
                             Shapes/Arch Holdings, LLC
                          Projected Profit & Loss Statement




                          Aug-08          Sep-08            Oct-08          Nov-08            Dec-08             Total
Net Sales             $   21,206,640   $ 18,437,429     $   20,583,204   $ 17,159,993     $   12,002,945    $   89,390,212

COGS
Material Costs            11,645,134       10,303,555       11,396,495        9,429,343        6,756,373        49,530,899
Mfg Expenses               5,803,760        5,422,246        5,868,988        5,444,510        4,256,832        26,796,336
                          17,448,894       15,725,801       17,265,483       14,873,852       11,013,205        76,327,235

Gross Profit          $    3,757,746   $ 2,711,628      $    3,317,722   $    2,286,141   $     989,740     $   13,062,977


Operating Expenses
Delivery                   1,038,784          930,640        1,018,750          886,073          661,167         4,535,414
Selling                      833,078          765,398          805,738          792,006          652,098         3,848,319
General & Admin            1,463,166        1,443,845        1,494,021        1,414,940        1,455,561         7,271,534
                           3,335,028        3,139,884        3,318,509        3,093,019        2,768,827        15,655,267

Operating Income      $     422,718    $     (428,256) $         (787) $       (806,879) $    (1,779,087)   $   (2,592,290)

Interest Expense            545,163          502,835          474,806           483,057         475,087          2,480,949

Other Income                 27,000           27,000           27,000            27,000           27,000          135,000

Net Income            $      (95,445) $      (904,091) $      (448,593) $ (1,262,936) $       (2,227,174)   $   (4,938,239)

EBITDA                $    1,215,711   $     364,736    $     792,204    $      (13,889) $      (988,098)   $    1,370,665




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                                                     Exhibit C
                                            Shapes/Arch Holdings, LLC
                                          Projected Monthly Balance Sheet



                                   Opening
Assets                              8/3/08              8/31/08                9/30/08             10/31/08            11/30/08           12/31/08
Cash                           $             -     $             -     $                -      $             -     $            -     $             -
Accounts Receivable                   37,725,000          32,562,682             30,758,883           30,366,639         29,132,476          23,247,344
Inventory                             43,503,000          42,679,042             42,265,792           42,043,122         43,511,533          45,078,511
Prepaids                               1,604,000           1,532,000              1,304,000            1,231,000          1,357,000             998,000
Current Assets                 $      82,832,000   $      76,773,723   $         74,328,675    $      73,640,760   $     74,001,010   $      69,323,855

Net PPE                               65,995,000          65,785,000             65,575,000           65,365,000         65,155,000          64,945,000

Other Asset                                  -                    -                      -                    -                   -                  -

Total Assets                   $     148,827,000   $     142,558,723   $        139,903,675    $     139,005,760   $    139,156,010   $     134,268,855


Liabilities
Accounts Payable               $         336,000   $       2,469,516   $           3,113,088   $       4,150,397   $      4,519,991   $       3,774,940
Accrued Expenses                       6,292,000           6,292,000               6,292,000           6,292,000          6,292,000           6,292,000
Current Liabilities            $       6,628,000   $       8,761,516   $           9,405,088   $      10,442,397   $     10,811,991   $      10,066,940

Revolver                              46,981,000          38,674,653             36,280,124           34,793,493         36,337,085          34,922,154
Term Loan                             30,000,000          30,000,000             30,000,000           30,000,000         30,000,000          30,000,000
Note Class 10                          1,500,000           1,500,000              1,500,000            1,500,000          1,000,000             500,000

Members Equity                        63,718,000          63,622,555             62,718,463           62,269,870         61,006,934          58,779,761

Total Liabilities & Equity     $     148,827,000   $     142,558,723   $        139,903,675    $     139,005,760   $    139,156,010   $     134,268,855

                                             -                    -                      -                    -                   -                  -




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                                            Exhibit C
                                    Shapes/Arch Holdings, LLC
                              Projected Monthly Cash Flow Statement




                                  8/31/08         9/30/08       10/31/08      11/30/08      12/31/08         Total
Net Income/(Loss)             $      (95,445) $     (904,091) $   (448,593) $ (1,262,936) $ (2,227,174)     (4,938,239)
Depreciation/Amortization            765,994         765,992       765,991        765,990       763,989      3,827,956
A/R Reserve                               -               -             -             -             -              -
Accounts Receivable                5,162,318       1,803,799       392,244      1,234,162     5,885,132     14,477,656
Inventory                            823,958         413,250       222,670     (1,468,412)   (1,566,978)    (1,575,511)
Prepaids                              72,000         228,000        73,000       (126,000)      359,000        606,000
Accounts Payable                   2,133,516         643,572     1,037,309        369,594      (745,050)     3,438,940
Accrued Expenses                          -               -             -             -             -              -
Cash from Operations               8,862,341       2,950,521     2,042,622       (487,602)    2,468,919     15,836,802

Capital Expenditures               (555,994)        (555,992)     (555,991)      (555,990)     (553,989)     (2,777,956)

Revolver Borrowing                (8,306,347)     (2,394,529)    (1,486,631)    1,543,592     (1,414,930)   (12,058,846)
Amortization -Class 10 Note              -               -              -        (500,000)      (500,000)    (1,000,000)

Net Cash Available                           -               -              0          (0)             0                0

Beginning Cash                           -               -              -               0             (0)           -

Ending Cash                              -               -                  0          (0)             0                0

                                         -




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                                          EXHIBIT D

                                      Liquidation Analysis




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                             EXHIBIT “E”




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Aluminum Shapes USEPA Lead Off-Site Environmental Liability CERCLA §106 Sites


•     Ewan Superfund Site, Shamong Township, NJ


             o   National Priorities List Site; EPA ID #NJD980761365
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs: 2.42% cap
             o   Natural Resource Damages: (complaint filed)∗


•     D’Imperio Superfund Site, Hamilton Township, NJ


             o   National Priorities List Site; EPA ID #NJD980529416
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs: 1.86% cap
             o   Natural Resource Damages: (unknown at this time)


•     Swope Oil and Chemical Company Superfund Site, Pennsauken Township, NJ


             o   National Priorities List Site; EPA ID #NJD041743220
             o   USEPA Estimated Costs:
             o   Aluminum Shapes Estimated Percentage Share of Costs:
             o   Natural Resource Damages: (unknown at this time)




∗
    This claim is a NJDEP Claim.
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II. Aluminum Shapes USEPA Lead Off-Site Environmental Liability Non-CERCLA §106
    Sites


•   Puchack Wellfield, Pennsauken Township, New Jersey*


           o   National Priorities List Site; EPA ID #NJD981084767
           o   USEPA Estimated Costs – $17,000,000.00
           o   Aluminum Shapes Estimated Percentage Share of Costs
           o   Natural Resource Damages: (unknown at this time)


•   Lightman Drum Company Site, Winslow Township, NJ
          o CERCLA ID #02-2000-2034
          o USEPA Estimated Costs:
          o Aluminum Shapes Estimated Percentage Share of Costs: 1.90%
          o Natural Resource Damages: (unknown at this time)


•   Chemical Control Corporation, Elizabeth, NJ


           o National Priorities List Site; EPA ID #NJD000607481
           o USEPA Estimated Costs:
           o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor;
             less than .0467% (believe Aluminum Shapes may have previously settled)
           o Natural Resource Damages: (unknown at this time)
           o (Liability may be resolved pursuant to a consent decree or settlement agreement
             and subject to confirmation)


•   Berks Associates/Douglassville Disposal, Douglassville, PA


           o National Priorities List Site; CERCLIS ID #PAD002384865
           o USEPA Estimated Costs:
           o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor;
             0.15283% of past costs, 0.07803% future costs (Aluminum Shapes may have
             previously settled for $119,975.98 – awaiting confirmation)
           o Natural Resource Damages: (unknown at this time)
           o (Liability may be resolved pursuant to a consent decree or settlement agreement
             and subject to confirmation)



*      This site is also subject to NJDEP directives.
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III.   Aluminum Shapes New Jersey Department of Environmental Protection Lead Off-
       Site Environmental Liabilities




                                     - NONE -
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IV.      State Environmental Claims and Environmental Litigation


•     9000 River Road, NJDEP 1992 Directive and Notice to Insurers


             o Directed Aluminum Shapes to identify and address all sources contributing to
               chromium contamination in the soil and groundwater at Aluminum Shapes’
               facility and to prevent migration of chromium contamination.
             o Aluminum Shapes and NJDEP entered into a Memorandum of Agreement dated
               June 23, 1993 in which Aluminum Shapes agreed to undertake remedial activities
               and to pay 80% of the cost of performing those activities. Remediation at the site
               is ongoing.


•     Harris v. Advanced Supply Process Company, et al.; Superior Court of New Jersey, Camden
      County, Law Division, Docket No.: L-03815-02


             o Class action lawsuit in which Aluminum Shapes is identified as a defendant.
             o Plaintiffs allege that Aluminum Shapes was negligent in the operation of its metal
               plating business resulting in the discharge of hazardous substances to soil and
               groundwater.


•     Pennsauken Solid Waste Management Authority, et al. v. Ward Sand Material Co., Inc., et
      al., Superior Court of New Jersey, Camden County, Law Division, Docket No.: L-13345-91


             o Aluminum Shapes is identified as a defendant.
             o Plaintiffs allege that defendants are responsible for the surface and groundwater
               contamination at the Pennsauken Landfill.




•     Buzby Brothers Landfill, Voorhees, NJ


             o Not a National Priorities List Site: EPA ID #NJD000305524
             o USEPA Estimated Costs:
             o Aluminum Shapes Estimated Percentage Share of Costs: de minimis contributor
               (Aluminum Shapes may have previously settled for $60,000 subject to
               confirmation)
             o Natural Resource Damages: (yes, complaint filed)
             o (Liability may be resolved pursuant to a consent decree or settlement agreement,
               and subject to confirmation)
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                                          EXHIBIT F

                                  Current Financial Information




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Shapes/Arch Holdings, LLC
Consolidate Profit and Loss Statement


                                        ACTUAL            ACTUAL            ACTUAL
                                         Jan-08            Feb-08           2 Months
SALES
 SALES                              $     19,536,386 $      19,200,547 $      38,736,933
 INTER-COMPANY ELIMINATIONS               (2,131,000)       (1,937,000)       (4,068,000)
 NET SALES                          $     17,405,386 $      17,263,547 $      34,668,933

COST OF SALES
 MATERIAL COST                            12,824,404        11,873,000        24,697,404
 INTER-COMPANY ELIMINATIONS               (2,258,000)       (2,064,000)       (4,322,000)
 MANUFACTURING EXPENSES                    5,177,330         5,059,600        10,236,930
                                          15,743,734        14,868,600        30,612,334

GROSS PROFIT                        $      1,661,652 $       2,394,947 $       4,056,599
 MATERIAL COST %                              65.64%            61.84%            63.76%
 GROSS PROFIT %                                9.55%            13.87%            11.70%

OPERATING EXPENSES
 DELIVERY EXPENSES                           910,000           963,000         1,873,000
 SELLING EXPENSES                            759,500           767,700         1,527,200
 DEPRECIATION/AMORTIZATION                   778,000           764,000         1,542,000
 GENERAL & ADMINISTRATIVE                  1,507,170         1,452,700         2,959,870
 INTER-COMPANY ELIMINATIONS                   (6,000)           (6,000)          (12,000)
 TOTAL OPERATING EXPENSES                  3,948,670         3,941,400         7,890,070

OPERATING INCOME                    $     (2,287,018) $     (1,546,453) $     (3,833,471)

INTEREST EXPENSE                            319,000           266,000           585,000

OTHER INCOME                                 157,000           145,000           302,000
 INTER-COMPANY ELIMINATIONS                 (133,000)         (133,000)         (266,000)
NET OTHER INCOME                              24,000            12,000            36,000

EXTRAORDINARY ITEMS                                -                 -                  -

PRETAX NET INCOME                   $     (2,582,018) $     (1,800,453) $     (4,382,471)

EBITDA                              $     (1,485,018) $       (770,453) $     (2,255,471)
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Shapes/Arch Holdings, LLC
Monthly Balance Sheet




Assets                             12/31/07           1/31/08            2/29/08
Cash                         $              -     $            -     $            -
Accounts Receivable                  21,684,000         23,877,000         29,167,000
Inventory                            45,871,000         44,044,000         44,302,000
Prepaids                              1,420,000          1,261,000          1,345,000
Current Assets               $       68,975,000   $     69,182,000   $     74,814,000

Net PPE                              67,565,000         67,214,000         66,802,000

Other Asset                             579,000            560,000            541,000

Total Assets                 $      137,119,000   $    136,956,000   $    142,157,000


Liabilities
Accounts Payable                     27,988,000         31,268,000         35,663,000
Accrued Expenses                      5,454,000          4,637,000          6,142,000
Current Liabilities          $       33,442,000   $     35,905,000   $     41,805,000

Revolver                             41,693,000         41,815,000         43,081,146
Term Loan                             8,844,000          8,678,000          8,514,000
Subordinated Debt                     5,991,000          5,991,000          5,991,000

Members Equity                       47,149,000         44,567,000         42,765,854

Total Liabilities & Equity   $      137,119,000   $    136,956,000   $    142,157,000
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                             EXHIBIT “H”




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                                                                                    5/20/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY, JR. (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
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    Cherry Hill, NJ 08002
    (856) 910-5000
    Attorneys for the Debtors

    In re:                                                    Case No. 08-14631 (GMB)
                                                              (Jointly Administered)
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                              Judge: Gloria M. Burns
                    Debtors.
                                                              Chapter: 11

       ORDER GRANTING THE DEBTORS’ MOTION FOR AN ORDER APPROVING:
        (A) THE COMPETITIVE PROCESS FOR THE SALE OF THE REORGANIZED
         DEBTORS’ EQUITY PURSUANT TO THE DEBTORS’ SECOND AMENDED
           PLAN OF REORGANIZATION AND (B) APPROVING A BREAK-UP FEE
                        AND EXPENSE REIMBURSEMENT
             The relief set forth on the following pages, numbered two (2) through eight (8) is hereby

    ORDERED:




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Reorganized Debtors’ Equity Pursuant to the Debtors’ Second Amended Plan of Reorganization and (b) Approving
a Break-Up Fee and Expense Reimbursement


         Upon consideration of the Debtors’ Motion for an Order Approving: (a) the Competitive

Process for the Sale of the Reorganized Debtors’ Equity Pursuant to the Debtors’ Second

Amended Plan of Reorganization and (b) Approving a Break-Up Fee and Expense

Reimbursement (the “Motion”),1 any objections thereto, and for good cause shown, it is hereby

ORDERED:
         1.      That the Motion is GRANTED as set forth herein.

         2.      That Arch is approved as the stalking horse bidder pursuant to the Amended Plan.

         3.      That the Competitive Process is approved as follows:

                 a.       Upon entry of this Order, the Debtors, through the Sales Consultant, shall

begin the formal sales process, including the coordination with the Debtors’ personnel of due

diligence requests from prospective bidders, arranging for advertising as appropriate,

disseminating teasers and arranging for management meetings.

                 b.         To be considered by the Debtors, in consultation with the Committee, an

offer for the purchase of all the equity of reorganized Shapes/Arch must be a qualified bid as

provided herein (a “Qualified Bid”). A Qualified Bid must be in writing and submitted so as to

be actually received by the Notice Parties listed in the Motion no later than June 25, 2008, at

12:00 noon (the “Bid Deadline”). A Qualified Bid must contain a mark-up of such bidder’s

proposed plan to show all modifications from the Amended Plan and exceed Arch’s plan funding



1
  Unless otherwise defined herein, capitalized terms shall have the same meanings ascribed to
them in the Motion.


                                                      2

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commitment by at least $1,950,000 (consisting of the Break-Up Fee, the Expense

Reimbursement, the In Lieu of Termination Fee, and a minimum $150,000 increase to Arch’s

proposed $5,000,000 Class 10 Distribution) (the “Initial Overbid”). The only material

modifications to the Amended Plan may be to (i) replace Arch as the Plan Funder (as defined in

the Amended Plan), (ii) provide for the payment in full on the Effective Date of the Class 3 Arch

Acquisition DIP Claim; (iii) increase or eliminate the caps on the amount of the Allowed Claims

in Class 1, Class 2 and/or Priority Tax Claims and otherwise, including the Plan Funding

Commitment (as defined in the Amended Plan); and (iv) increase the Class 10 distribution to

general unsecured creditors (the “Class 10 Distribution”) by at least $150,000.00 over and above

the distribution proposed under the Amended Plan (an “Alternative Plan”). The mark-up must

include the bidder’s proposed Schedule 8.1 of executory contracts and unexpired leases to be

assumed. The Alternative Plan may also include non-economic, non-material modifications

provided that such modifications do not cause the Alternative Plan (in the Debtors’ discretion

after consultation with the Committee) to require re-solicitation under Section 1127 of the

Bankruptcy Code.

                 c.       To be considered a Qualified Bid, a person interested in purchasing the

Debtors’ equity must, no later than the Bid Deadline, provide the following additional

information to the Notice Parties:

                          i.       Identification of the potential bidder, its principals, and the

representatives thereof who are authorized to appear on the potential bidder’s behalf for all

purposes, and an explanation of any affiliation with a competitor of any of the Debtors.


                                                      3

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                          ii.      An executed, binding and irrevocable offer in the amount of at

least the Initial Overbid that also identifies any potential, non-material modifications to the

Amended Plan, which Qualified Bid will be irrevocable until at least two days after conclusion

of the Confirmation Hearing.

                          iii.     Written evidence, satisfactory to the Sales Consultant, the Debtors

and the Committee, that the potential bidder has the financial wherewithal and ability to fully

fund and consummate the Alternative Plan upon an Effective Date (as defined in the Amended

Plan) not later than July 31, 2008, which shall include the following: (a) current financial

statements, (b) contact information for parties that can confirm financing availability, (c) proof

of debt or equity funding commitments, and (d) other information that would show the potential

bidder’s financial ability to fund the Alternative Plan.

                          iv.      Provide a good faith deposit of $4,500,000 in the form of a

certified check or wire transfer to be held in escrow by the Debtors’ counsel (the “Deposit”).

                          v.       Written confirmation that the potential bidder’s offer is not subject

to financing or any contingencies other than any contingencies contained in the Amended Plan.

Potential bidders shall have until 7:00 p.m. (Eastern Time) on June 26, 2008, to definitively

satisfy any financing contingencies contained in an otherwise Qualified Bid; if the potential

bidder has not removed all financing contingencies by this time, its bid will not be considered a

Qualified Bid and the potential bidder will not be eligible to participate in the Auction (defined

below).




                                                      4

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                 d.       Any party wishing to participate in the Competitive Process must submit a

Qualified Bid no later that June 25, 2008, at 12:00 noon (Eastern Time) (the “Bid Deadline”) to

the Notice Parties. Any bid received after the Bid Deadline (unless extended by the Debtors in

consultation with the Committee) shall not constitute a Qualified Bid, and shall not be

considered by the Debtors or the Sales Consultant.

                 e.       In the event a Qualified Bid is timely received by the Notice Parties, the

Debtors, through the Sales Consultant and in consultation with the Committee, shall conduct an

“auction” for competitive plans on June 27, 2008, at 10:00 a.m. at the offices of Cozen

O’Connor, 1900 Market Street, Philadelphia, Pennsylvania (the “Auction”).

                 f.       The effective date of the Amended Plan or the Alternative Plan will be no

later than July 31, 2008.

                 g.       The reorganized Debtors’ equity will be sold to a single bidder, in a single

sale. As set forth above, all bidders must submit the Amended Plan, revised only: (i) to replace

Arch as the Plan Funder; (ii) to provide for payment in full on the Effective Date of the Class 3

Arch Acquisition DIP Claim; (iii) to increase or eliminate the caps on the amount of the Allowed

Claims in Class 1, Class 2 and/or Priority Tax Claims and otherwise, including the Plan Funding

Commitment (as defined in the Amended Plan); and (iv) to increase the Class 10 Distribution as

set forth in paragraph 3(b) hereinabove.

                 h.       After the Initial Overbid, successive bids at the Auction shall be in

increments of no less than $150,000.



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         4.      That, in the event Qualified Bids are timely submitted, the Debtors, through the

Sales Consultant, and in consultation with the Committee, will conduct the Auction between and

among Arch and all parties submitting a Qualified Bid. In the event that no Qualified Bids are

submitted by the Bid Deadline, then Arch will be deemed the Successful Bidder and the Debtors

shall proceed with confirmation of the Amended Plan.

         5.      At the Auction, the Debtors shall take into account Arch’s entitlement to the

Break-Up and Expense Reimbursement in conducting the Auction and at all times in determining

which bid is the higher and better bid and ultimately which bid is the highest and best bid.

Should overbidding occur, Arch will have the right, but not the obligation, to participate in the

bidding and to be approved as the successful bidder based on any such subsequent overbid

provided that Arch’s overbid is determined to be the highest and best bid.

         6.      The bidding will be continuous and competitive and will not end until all

Qualified Bidders have submitted their last and best offers.

         7.      That, at the conclusion of the Auction, the Debtors, through the Sales Consultant,

and after consultation with the Committee, shall announce the highest and best bid (the

“Successful Bidder”) and the second place bidder (the “Second Place Bidder”).

         8.      That the final bid of the Second Place Bidder shall remain in place through the

Effective Date, and if for any reason the Successful Bidder does not timely close, the Debtors,

after consultation with the Committee, shall have the right to accept the bid of the Second Place

Bidder and close with the Second Place Bidder.


                                                      6

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         9.      That the Debtors shall seek confirmation of the Amended Plan with Arch or, in

the event Arch is not the Successful Bidder, the Alternative Plan with the Successful Bidder at

the Confirmation Hearing.

         10.     That ballots accepting or rejecting the Plan will be due June 27, 2008. The Court

finds that because the only changes to the Amended Plan will be to: (i) replace Arch as the Plan

Funder, (ii) to provide for payment in full on the Effective Date of the Class 3 Arch Acquisition

DIP Claim; (iii) to increase or eliminate the caps on the amount of the Allowed Claims in Class

1, Class 2 and/or Priority Tax Claims and otherwise, including the Plan Funding Commitment

(as defined in the Amended Plan); and (iv) increase the Class 10 Distribution as outlined in

paragraph 3(b) hereinabove, there will be no material changes in the Amended Plan if Arch is

not the plan funder that will negatively impact any class of creditors.

         11.     That as soon as practicable after the conclusion of the Confirmation Hearing,

Deposits (plus accrued interest, if any) will be returned to all bidders except the Successful

Bidder and the Second Place Bidder. If the Successful Bidder’s plan is confirmed and becomes

effective, the Successful Bidder’s Deposit (plus accrued interest, if any) will be applied at

closing and the Second Place Bidder’s deposit will be returned promptly after the Effective Date

of the Amended Plan or the Alternative Plan.

         12.     The Effective Date of the Amended Plan or the Alternative Plan will be no later

than July 31, 2008.




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         13.     That any dispute as to any bidder’s intent or ability to close will be resolved by

the Court at the Confirmation Hearing.

         14.     That the Break-Up Fee and Expense Reimbursement are hereby approved and

shall be paid to Arch, in full, on the Effective Date if it is not the Successful Bidder.

         15.     The Court shall retain jurisdiction to enforce, interpret and implement the terms of

this order.




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                                                                Approved by Judge Gloria M. Burns May 20, 2008
